Case 2:04-cr-20381-.]PI\/| Document 41 Filed 04/21/05 Page 1 of 2 Page|D 57

IN THE UNITED STATES D:STRICT cOURT r=n..,. day ,
FOR THE wESTERN DISTRICT OF TENNESSEE
wESTERN DIVISION g§};=i:>yg 2| »,.:H 5

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CLEHK. U.S. Bi . $T

UNITED STATES OF AMERICA,
W.D. O'F TN MENIPH!S

Plaintiff,
Cr. NO. 04-20381-1\41{\/

VS.

DARRELL RYAN ,

\_/~_¢`J~__~`._,-_/~_¢~.._,»\_,

Defendant.

 

ORDER

 

Upon motion cf the United States, Counts 2, 3, 4, and 5 are
hereby dismissed.

IT 13 50 0RDERED this w?| day Of April, 2005.

il m OM,\,

P. MCCALLA
UO ited States District Judge

This document entered on the docket sheet in'comp\ianca
with Rule 55 and/or 32(b) FHCrP on ` /

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNEssEE

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Honorable J on McCalla
US DISTRICT COURT

